          Case 3:08-cv-00173-ECR-RAM Document 195 Filed 09/15/09 Page 1 of 4




 1   David M. Jacobson (WSBA #30125), admitted pro hac vice
     jacobson.david@dorsey.com
 2   Shawn J. Larsen-Bright (WSBA #37066), admitted pro hac vice
     larsen.bright.shawn@dorsey.com
 3
     Jessica M. Andrade (WSBA #39297), admitted pro hac vice
 4   andrade.jessica@dorsey.com
     DORSEY & WHITNEY LLP
 5   1420 Fifth Avenue, Suite 3400
     Seattle, Washington 98101-4010
 6   206-903-8864 (Tel) - 206-260-9177 (Fax)
 7
     Leslie Bryan Hart, Esq. (SBN #4932)
 8   lhart@lionelsawyer.com
     LIONEL SAWYER & COLLINS
 9   1100 Bank of America Plaza
     50 W. Liberty St.
10   Reno, NV 89501
11   775-788-8650 (Tel) - 775-788-8682 (Fax)

12   Attorneys for Plaintiff Deep Well Oil & Gas, Inc.

13
                                 UNITED STATES DISTRICT COURT
14
                                          DISTRICT OF NEVADA
15

16   DEEP WELL OIL & GAS, INC.                       CASE NO. 3:08-CV-00173-ECR-RAM

17                          Plaintiff,               STIPULATED JUDGMENT OF
                                                     DISMISSAL WITH PREJUDICE
18           vs.

19   TAMM OIL AND GAS CORP., GARRY
     TIGHE, WILLIAM TIGHE, SEAN
20   DICKENSON, JOHN MUZZIN, CRAIG
     AURINGER, GUIDO HILEKES, PETER
21   SCHREIBER, OLAF HERR, ARTHUR
     SULZER, LB (SWISS) PRIVATE BANK,
22   LTD., and RAHN & BODMER
     BANQUIERS.
23
                            Defendants.
24
     ____________________________________
25




                                                                         DORSEY & WHITNEY LLP
     STIPULATED JUDGMENT OF DISMISSAL                                       U.S. BANK BUILDING CENTRE
                                                                           1420 F IFTH AVENUE, SUITE 3400
     WITH PREJUDICE                                 1                     SEATTLE, WASHINGTON 98101
                                                                               PHONE: (206) 903-8800
                                                                                 FAX: (206) 903-8820
          Case 3:08-cv-00173-ECR-RAM Document 195 Filed 09/15/09 Page 2 of 4




1             Plaintiff Deep Well Oil & Gas, Inc. and Defendants Tamm Oil and Gas Corp., Garry
2    Tighe, William Tighe, Sean Dickenson, John Muzzin, Guido Hilekes, Peter Schriber, Olaf Herr,
3    Arthur Sulzer, LB (Swiss) Private Bank, Ltd., and Rahn & Bodmer Co. (f/k/a Rahn & Bodmer
4    Banquiers), by and through their undersigned counsel of record, hereby stipulate and agree that
5    this case, including any and all claims and counterclaims that were asserted or could have been
6    asserted, is dismissed with prejudice and without an award of costs or attorneys’ fees to any
7    party.
8             So stipulated and respectfully submitted this 15th day of September, 2009.
9

10   s/ Robert W. Tarun                            s/ David M. Jacobson
     Robert W. Tarun                              David M. Jacobson (WSBA #30125)
11                                                Shawn J. Larsen-Bright (WSBA #37066)
     BAKER & MCKENZIE LLP
12   Two Embarcadero Center, 11th Floor           Jessica M. Andrade (WSBA #39297)
     San Francisco, CA 94111                      DORSEY & WHITNEY LLP
13   (415) 591-3220                               1420 Fifth Avenue, Suite 3400
                                                  Seattle, WA 98101-4010
14                                                (206) 903-8800
      Attorneys for Defendants Arthur Sulzer, (206) 903-8820 (Fax)
15    Garry Tighe, Guido Hilekes, Peter Schriber, Admitted pro hac vice
      and John Muzzin
16                                                Leslie Bryan Hart (SBN # 4932)
                                                  1100 Bank of America Plaza
17                                                50 W. Liberty St.
                                                  Reno, NV 89501
18                                                775-788-8650
                                                  775-788-8682 (Fax)
19
                                                       Attorneys for Plaintiff Deep Well Oil & Gas,
20                                                     Inc.

21

22   s/ Thomas F. Kummer                                  s/ Dominica C. Anderson
     Thomas F. Kummer (NB #1200)                          Dominica C. Anderson (NB #2988)
23   GREENBERG TRAURIG, LLP                               DUANE MORRIS LLP
     3773 Howard Hughes Pkwy, Ste. 400 N                  100 North City Parkway, Suite 1560
24   Las Vegas, NV 89169                                  Las Vegas, NV 89106-4617
25
      Attorneys for Defendants Tamm Oil & Gas Attorneys for Olaf Herr, LB (Swiss) Private
      Corp., William Tighe and Sean Dickenson Bank, Ltd. and Rahn & Bodmer Co. (fka Rahn
                                              & Bodmer Banquiers)

                                                                                  DORSEY & WHITNEY LLP
     STIPULATED JUDGMENT OF DISMISSAL                                                U.S. BANK BUILDING CENTRE
                                                                                    1420 F IFTH AVENUE, SUITE 3400
     WITH PREJUDICE                                   2                            SEATTLE, WASHINGTON 98101
                                                                                        PHONE: (206) 903-8800
                                                                                          FAX: (206) 903-8820
         Case 3:08-cv-00173-ECR-RAM Document 195 Filed 09/15/09 Page 3 of 4




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4                                         IT IS SO ORDERED

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6                                         The Honorable Edward C. Reed, Jr.
                                          United States District Judge
7

8                                         DATED: __________________________

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                                                                   DORSEY & WHITNEY LLP
     STIPULATED JUDGMENT OF DISMISSAL                                U.S. BANK BUILDING CENTRE
                                                                    1420 F IFTH AVENUE, SUITE 3400
     WITH PREJUDICE                      3                         SEATTLE, WASHINGTON 98101
                                                                        PHONE: (206) 903-8800
                                                                          FAX: (206) 903-8820
            Case 3:08-cv-00173-ECR-RAM Document 195 Filed 09/15/09 Page 4 of 4




                                           CERTIFICATE OF SERVICE
1
           I hereby certify that on the 15th day of September 2009, I served a true copy of the following
2    documents:
3
              STIPULATED JUDGMENT OF DISMISSAL WITH PREJUDICE
4

5             to the people listed below via the following means:

6
     Via ECF Notification                                       Via ECF Notification
7    Thomas F. Kummer                                           Dominica C. Anderson
     GREENBERG TRAURIG, LLP                                     Ryan A. Loosvelt
8    3773 Howard Hughes Pkwy, Ste. 400 N                        Jermaine S. Grubbs
     Las Vegas, NV 89169                                        DUANE MORRIS LLP
9    kummert@gtlaw.com                                          701 Bridger Avenue, Suite 670
     Attorney for Defendants Tamm Oil and Gas Corp.,            Las Vegas, NV 89101
10   William Tighe Sean Dickenson                               dcanderson@duanemorris.com
                                                                rloosvelt@duanemorris.com
11                                                              jsgrubbs@duanemorris.com
     Via ECF Notification                                       Attorneys for Olaf Herr, LB (Swiss) Private Bank, Ltd.
12   Robert W. Tarun                                            and Rahn & Bodmer Co. (fka Rahn & Bodmer
     BAKER & MCKENZIE LLP                                       Banquiers)
13   Two Embarcadero Center, 11th Floor
     San Francisco, CA 94111                                    Via ECF Notification
14   Robert.W.Tarun@bakernet.com                                Leslie Bryan Hart
     Attorneys for Defendants Arthur Sulzer, Garry Tighe,       LIONEL SAWYER & COLLINS
     Guido Hilekes, Peter Schriber, and John Muzzin             50 West Liberty St. #1100
15
                                                                Reno, NV 89501
                                                                lhart@lionelsawyer.com
16

17   DATED this 15th day of September, 2009.

18                                                    DORSEY & WHITNEY LLP

19

20
                                                      s/ Kelly Nakata_____
21                                                    Kelly Nakata
                                                      Legal Secretary at Dorsey & Whitney LLP
22
                                                      1420 5th Avenue, Suite 3400
23                                                    Seattle, WA 98101-4010
                                                      Telephone: (206) 903-8800
24                                                    Fax: (206) 903-8820

25                                                    Attorneys for Plaintiff DEEP WELL OIL & GAS,
                                                      CORP.



                                                                                             DORSEY & WHITNEY LLP
     STIPULATED JUDGMENT OF DISMISSAL                                                           U.S. BANK BUILDING CENTRE
                                                                                               1420 F IFTH AVENUE, SUITE 3400
     WITH PREJUDICE                                         4                                 SEATTLE, WASHINGTON 98101
                                                                                                   PHONE: (206) 903-8800
     4851-5334-8612\1                                                                                FAX: (206) 903-8820
